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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY

UNITED STATES                   *
                                *
    v.                          *      C$6(NO. 19-877
                                *
JOBADIAH SINCLAIR WEEKS         *
                                *
                              *****
  ORDER REGARDING USE OF VIDEO CONFERENCING/TELECONFERENCING

        In accordance with Standing Order 2020-06, this Court finds:
  ✔      That the Defendant (or the Juvenile) has consented to the use of video

teleconferencing/teleconferencing to conduct the proceeding(s) held today, after consultation

with counsel; and

The proceeding(s) held on this date may be conducted by:
  ✔      Video Teleconferencing

         Teleconferencing, because video teleconferencing is not reasonably available for the

following reason:

                The Defendant (or the Juvenile) is detained at a facility lacking video

        teleconferencing capability.

                Other:




Date:   8/23/2021                                             s/Michael A. Hammer
                                                             Honorable Michael A. Hammer
                                                             United States Magistrate Judge
